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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

DEDRIC JAMAR DEAN,                          )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )   CASE NO. 1:24-cv-505-ECM
                                            )
RICHARD SPIVEY,                             )
                                            )
      Defendant.                            )

                      MEMORANDUM OPINION and ORDER

      On October 2, 2024, the Magistrate Judge entered a Recommendation (doc. 4) to

which no timely objections have been filed. Upon an independent review of the file and

upon consideration of the Recommendation, it is

      ORDERED that the Recommendation of the Magistrate Judge (doc. 4) is

ADOPTED, and this case is DISMISSED without prejudice for the Plaintiff’s failure to

prosecute and to comply with the Orders of the Court. It is further

      ORDERED that all pending motions are DENIED as moot.

      A separate Final Judgment will be entered.

      DONE this 18th day of December, 2024.

                                         /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
